                                  IN THE
                          TENTH COURT OF APPEALS

                                 No. 10-16-00137-CR

WILL STEINMANN,
                                                            Appellant
v.

THE STATE OF TEXAS,
                                                            Appellee


                            From the 13th District Court
                              Navarro County, Texas
                            Trial Court No. D35282-CR


                                       ORDER

       The Court received appellant’s brief in hard copy form only on October 19, 2016.

The cover of the brief contained the statement, “BRIEF IS SEALED BY ORDER OF THE

COURT.” This Court was unable to find any order by any court ordering the sealing of

appellant’s brief. This Court did not issue a sealing order. There was no written trial

court sealing order contained in the clerk’s record. Further, after a limited review of the

ten volume reporter’s record, the Court was unable to locate any verbal order of the trial

court sealing appellant’s brief. However, when the Court requested to be directed to the
sealing order, a brief was electronically filed on October 31, 2016; but it was not filed

under seal.

       Because the brief has been filed, there is no need to grant a motion for extension of

time to file it. Accordingly, appellant’s motion for extension of time to file appellant’s

brief dismissed as moot.


                                          PER CURIAM

Before Chief Justice Gray,
       Justice Davis, and
       Justice Scoggins
Motion dismissed as moot
Order issued and filed November 16, 2016




Steinmann v. State                                                                    Page 2
